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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DISPLAY TECHOLOGIES, LLC              §
                                      §
      Plaintiff,                      §                     Case No.: 1:20-cv-258-RGA
                                      §
vs.                                   §
                                      §
                                      §
ASTON MARTIN, LLC,                    §                     Jury Trial Demanded
                                      §
      Defendant.                      §
_____________________________________ §


                           MOTION FOR DEFAULT JUDGMENT

Plaintiff, Display Technologies, LLC (“DT”) hereby submits this Motion For Default Judgment.

       1.      On February 23, 2020, Plaintiff filed its Original Complaint against Aston Martin,

LLC (Dkt. 1) alleging infringement of U.S. Patent No. 9, 300,723. Defendant Aston Martin LLC

was served on February 27, 2020. Defendant was required to file an answer to the complaint on

March 19, 2020.

       2.      To date Defendant Aston Martin, LLC has not filed an answer or otherwise

responded to the complaint.

       3.      On July 7, 2020 Plaintiff Display Technologies LLC filed its Request for Default

Judgment (Dkt. 10). The court entered the Clerk’s Entry of Default on July 17, 2020 (Dkt. 12).

To date, Defendant has not filed an answer to the Original Complaint.

       4.      Plaintiff respectfully submits that damages should be calculated a reasonable

royalty and that the reasonable royalty should be calculated as set forth in the Affidavit of Leigh

Rothschild (Exhibit A); see paragraphs 6-9. The amount of a reasonable royalty according to this

calculation is $1M.
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       5.      At a minimum, damages should be no lower than $75,000. See Exhibit A,

paragraph 9.

       6.      Plaintiff respectfully asks this court to enter a default judgment in favor of Plaintiff

ordering Defendant to pay Plaintiff an amount of damages of $1M, but no less than $75,000.

       Plaintiff further requests this Court to award Plaintiff its attorney fees and expenses

incurred in pursuing this matter.

       Plaintiff Scanning Technologies Innovations LLC therefore moves the Court for an order

of Default Judgment.

Dated: December 11, 2020                          Respectfully Submitted,

                                                    CHONG LAW FIRM, P.A.

                                                    /s/ Jimmy Chong
                                                    Jimmy Chong (No. 4839)
                                                    2961 Centerville Rd., Suite 350
                                                    Wilmington, DE 19808
                                                    (302) 999-9480
                                                    chong@chonglawfirm.com

                                                    Attorneys for Plaintiff Display Technologies,
                                                    LLC
